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                     UNITED STATES DISTRICT COURT

                     MIDDLE DISTRICT OF LOUISIANA

 VOICE OF THE EXPERIENCED, A                                      CIVIL ACTION
 MEMBERSHIP ORGANIZATION ON
 BEHALF OF ITSELF AND ITS
 MEMBERS, ET AL.

 VERSUS

 JAMES LEBLANC, ET AL.                                  NO. 23-01304-BAJ-EWD

                                     ORDER

      Considering Plaintiffs’ Unopposed Motion To Supplement The Reply In

Support Of Their Application For A Second Temporary Restraining Order

And Preliminary Injunction With Declarations Of Frank Carter And Evans

Tutt With Wet-Ink Signatures (Doc. 232),

      IT IS ORDERED that the Motion be and is hereby GRANTED. Plaintiffs’

proposed Supplements, currently pending at Docs. 232-1 and 232-2, shall be filed as

a separate docket entry.



                                 Baton Rouge, Louisiana, this 7th day of May, 2025



                                      _____________________________________
                                      JUDGE BRIAN A. JACKSON
                                      UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF LOUISIANA
